                    Case 23-11069-CTG               Doc 565       Filed 09/15/23         Page 1 of 24




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    YELLOW CORPORATION, et al.,1                                           Case No. 23-11069 (CTG)
                                                                           Re: Docket Nos. 516, 558
                                      Debtors.

                                                                           (Jointly Administered)


    JEFF MOORE and ELIZABETH BROOK MOORE
    On behalf of themselves and all others similarly
    situated,
                                                                           Adv. Proc. No. 23-50457 (CTG)
                                     Plaintiffs,                           Re: Docket Nos. 5, 8
    v.


    YELLOW CORPORATION; USF REDDAWAY
    INC.; 1105481 ONTARIO INC.; YELLOW
    FREIGHT CORPORATION; EXPRESS LANE
    SERVICE, INC.; YELLOW LOGISTICS, INC.,
    NEW PENN MOTOR EXPRESS LLC; YRC
    ASSOCIATION SOLUTIONS, INC.; ROADWAY
    EXPRESS INTERNATIONAL, INC.; YRC
    ENTERPRISE SERVICES, INC.; ROADWAY LLC;
    YRC FREIGHT CANADA COMPANY;
    ROADWAY NEXT DAY CORPORATION; YRC
    INC.; USF BESTWAY INC.; YRC
    INTERNATIONAL INVESTMENTS, INC.; USF
    DUGAN INC.; YRC LOGISTICS INC.; USF
    HOLLAND INTERNATIONAL SALES
    CORPORATION; YRC LOGISTICS SERVICES,
    INC.; USF HOLLAND LLC; YRC MORTGAGES,
    LLC; USF REDSTAR LLC AND YRC REGIONAL
    TRANSPORTATION, INC.,

                                     Defendants.


1
         A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
         claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
         place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
         Overland Park, Kansas 66211.


DOCS_DE:244678.8 96859/001
                Case 23-11069-CTG             Doc 565     Filed 09/15/23   Page 2 of 24




    ROGER KEEF, on behalf of himself and all others
    similarly situated,
                                                                Adv. Proc. No. 23-50458 (CTG)
                                 Plaintiff,                     Re: Docket Nos. 5, 8

    v.


    YELLOW CORPORATION; YRC INC. (d/b/a YRC
    FREIGHT)

                                 Defendants.


  SECOND AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON
SEPTEMBER 15, 2023 AT 11:30 A.M. (PREVAILING EASTERN TIME), BEFORE THE
 HONORABLE CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
 STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801


    PLEASE NOTE: THE HEARING WILL BE NOW BE CONDUCTED ENTIRELY VIA
                              ZOOM ONLY.

                Please see below for the connection and registration information.
    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                              Registration Link:

              https://debuscourts.zoomgov.com/meeting/register/vJIsdumsqDspGEdqmg
                                       Wet6pQ32Dw81Xlksw



RESOLVED MATTERS:

1.        Motion of Debtors Seeking Entry of an Order (I) Extending Time to File Schedules of
          Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of
          Executory Contracts and Unexpired Leases, and Statements of Financial Affairs and (II)
          Granting Related Relief [Filed: 8/29/23] (Docket No. 361)



2
    Amended items are in bold.
                                                      2
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565      Filed 09/15/23   Page 3 of 24




        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order (I) Extending Time to File Schedules of Assets and Liabilities,
                 Schedules of Current Income and Expenditures, Schedules of Executory Contracts
                 and Unexpired Leases, and Statements of Financial Affairs and (II) Granting
                 Related Relief [Filed: 8/29/23] (Docket No. 361, Exhibit A)

        b.       Certification of No Objection Regarding Motion of Debtors Seeking Entry of an
                 Order (I) Extending Time to File Schedules of Assets and Liabilities, Schedules
                 of Current Income and Expenditures, Schedules of Executory Contracts and
                 Unexpired Leases, and Statements of Financial Affairs and (II) Granting Related
                 Relief [Filed: 9/11/23] (Docket No. 443)

        c.       [Signed] Order (I) Extending Time to File Schedules of Assets and Liabilities,
                 Schedules of Current Income and Expenditures, Schedules of Executory Contracts
                 and Unexpired Leases, and Statements of Financial Affairs and (II) Granting
                 Related Relief [Filed: 9/12/23] (Docket No. 493)

        Status: The Court has entered an order on this matter. No hearing is necessary.

PRE-TRIAL CONFERENCE:

2.      [Jeff Moore and Elizabeth Brooke Moore v. Yellow Corporation, et al. – Adv. 23-50457]
        Class Action Adversary Proceeding Complaint [Filed: 8/10/23] (Docket No. 1)

        Related Documents:

        a.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Filed:
                 8/10/23] (Docket No. 3)

        b.       Certification of Counsel Submitting Order Approving Stipulation for Extension of
                 Time for Defendants to Answer Complaint [Filed: 9/13/23] (Docket No. 6)

        c.       [Signed] Order Approving Stipulation for Extension of Time for Defendants to
                 Answer Complaint [Filed: 9/14/23] (Docket No. 7)

        Status: The pre-trial conference for this matter is adjourned by agreement to a date and
        time to be determined.




                                                 3
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG         Doc 565     Filed 09/15/23    Page 4 of 24




3.      [Roger Keef v. Yellow Corporation, et al. – Adv. 23-50458] Class Action Adversary
        Proceeding Complaint [Filed: 8/7/23] (Docket No. 1)

        Related Documents:

        a.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Filed:
                 8/10/23] (Docket No. 3)

        b.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Filed:
                 8/10/23] (Docket No. 4)

        c.       Certification of Counsel Submitting Order Approving Stipulation for Extension of
                 Time for Defendants to Answer Complaint [Filed: 9/14/23] (Docket No. 6)

        d.       [Signed] Order Approving Stipulation for Extension of Time for Defendants to
                 Answer Complaint [Filed: 9/14/23] (Docket No. 7)

        Status: The pre-trial conference for this matter is adjourned by agreement to a date and
        time to be determined.

CONTINUED MATTERS:

4.      Motion of Brett Groves for Relief From the Automatic Stay to the Extent of Liability
        Insurance Proceeds [Filed: 8/24/23] (Docket No. 334)

        Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
        at 4:00 p.m. ET)

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order Granting Motion for Relief from the Automatic Stay to the
                 Extent of Liability Insurance Proceeds [Filed: 8/24/23] (Docket No. 334, Exhibit
                 B)

        b.       Certification of Counsel Regarding the Joint Stipulation By and Among the
                 Debtors and Brett Groves to (I) Extend the Deadline to Respond to Motion to Lift
                 the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                 9/7/23] (Docket No. 414)

        c.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Brett Groves to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                 (Docket No. 427)

        Status: This matter is adjourned by agreed stipulation to the omnibus hearing on October
        23, 2023, at 10:00 a.m. ET.

                                                 4
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565      Filed 09/15/23    Page 5 of 24




5.      Motion of Myriam Binette for Relief From the Automatic Stay [Filed: 8/28/23] (Docket
        No. 344)

        Response Deadline: September 7, 2023, at 4:00 p.m. ET (extended until October 9, 2023
        at 4:00 p.m. ET)

        Responses Received: None.

        Related Documents:

        a.       Notice of Motion of Myriam Binette for Relief from Stay Under Section 362 of
                 the Bankruptcy Code [File: 8/30/23] (Docket No. 364)

        b.       Certification of Counsel Regarding The Joint Stipulation By and Among the
                 Debtors and Myriam Binette to (I) Extend the Deadline to Respond to Motion to
                 Lift the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                 9/7/23] (Docket No. 416)

        c.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Myriam Binette to (I) Extend the Deadline to Respond to Motion to Lift the
                 Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed: 9/8/23]
                 (Docket No. 429)

        Status: This matter is adjourned by agreed stipulation to the omnibus hearing on October
        23, 2023, at 10:00 a.m. ET.

6.      Motion of Peapack Capital Corporation for Relief From the Automatic Stay [Filed:
        8/28/23] (Docket No. 351)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET (extended until September 19,
        2023 at 4:00 p.m. ET)

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order Granting Motion of Peapack Capital Corporation for Relief
                 From the Automatic Stay [Filed: 8/28/23] (Docket No. 351)

        Status: The parties have agreed to adjourn this matter until September 26, 2023, at
        12:00 p.m. ET.

7.      Motion of Paul Clark and Jean Clark for Relief From the Automatic Stay to the Extent of
        Liability Insurance Proceeds [Filed: 8/29/23] (Docket No. 358)

        Response Deadline: September 12, 2023, at 4:00 p.m. ET (extended until October 12, 2023
        at 4:00 p.m. ET)


                                                 5
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG         Doc 565     Filed 09/15/23    Page 6 of 24




        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order Granting Motion for Relief From the Automatic Stay to the
                 Extent of Liability Insurance Proceeds [Filed: 8/29/23] (Docket No 358, Exhibit
                 B)

        b.       Certification of Counsel Regarding he Joint Stipulation By and Among the
                 Debtors and Paul Clark and Jean Clark to (I) Extend the Deadline to Respond to
                 Motion to Lift the Automatic Stay and (II) Extend the Hearing Date Related
                 Thereto [Filed: 9/7/23] (Docket No. 415)

        c.       [Signed] Order Approving the Joint Stipulation By and Among the Debtors and
                 Paul Clark and Jean Clark to (I) Extend the Deadline to Respond to Motion to Lift
                 the Automatic Stay and (II) Extend the Hearing Date Related Thereto [Filed:
                 9/8/23] (Docket No. 428)

        Status: This matter is adjourned by agreed stipulation to the omnibus hearing on October
        23, 2023, at 10:00 a.m. ET.

8.      Motion of Debtors for Entry of an Order (I) Authorizing the Debtors to Retain and
        Compensate Professionals Utilized in the Ordinary Course of Business and (II) Granting
        Related Relief [Filed: 8/31/23] (Docket No. 392)

        Response Deadline: September 14, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       Informal comments from the Office of the United States Trustee.

        Related Documents:

        a.       [Proposed] Order (I) Authorizing the Debtors to Retain and Compensate
                 Professionals Utilized in the Ordinary Course of Business and (II) Granting
                 Related Relief [Filed: 8/31/23] (Docket No. 392, Exhibit A)

        b.       Amended Notice of Hearing on Motion of Debtors for Entry of an Order (I)
                 Authorizing the Debtors to Retain and Compensate Professionals Utilized in the
                 Ordinary Course of Business and (II) Granting Related Relief [Filed: 9/11/23]
                 [Docket No. 440]

        Status: This matter is adjourned to the hearing on September 26, 2023, at 12:00 p.m. ET.




                                                 6
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565     Filed 09/15/23    Page 7 of 24




MATTERS FOR WHICH A CNO/ COC HAS BEEN FILED:

9.      Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Approving
        Notification and Hearing Procedures for Certain Transfers of Common Stock and (II)
        Granting Related Relief [Filed: 8/7/23] (Docket No. 4)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Signed] Interim Order (I) Approving Notification and Hearing Procedures for
                 Certain Transfers of Common Stock and (II) Granting Related Relief [Filed:
                 8/9/23] (Docket No. 175)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Approving Notification and Hearing
                 Procedures for Certain Transfers of Common Stock and (II) Granting Related
                 Relief [Filed: 8/10/23] (Docket No. 200)

        c.       Certification of Counsel Regarding Final Order (I) Approving Notification and
                 Hearing Procedures for Certain Transfers of Common Stock and (II) Granting
                 Related Relief [Filed: 9/13/23] (Docket No. 511)

        d.       Final Order (I) Approving Notification and Hearing Procedures for Certain
                 Transfers of Common Stock and (II) Granting Related Relief [Filed: 9/13/23]
                 (Docket No. 524)

        Status: The Court has entered an order on this matter. No hearing is necessary.

10.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Payment of Certain Prepetition and Postpetition Taxes and Fees and (II) Granting
        Related Relief [Filed: 8/7/23] (Docket No. 5)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Signed] Interim Order (I) Authorizing the Payment of Certain Prepetition and
                 Postpetition Taxes and Fees and (II) Granting Related Relief [Filed: 8/17/23]
                 (Docket No. 276)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Payment of Certain
                 Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief
                 [Filed: 8/17/23] (Docket No. 291)
                                                  7
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG         Doc 565     Filed 09/15/23    Page 8 of 24




        c.       Certification of Counsel Regarding Final Order (I) Authorizing the Payment of
                 Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related
                 Relief [Filed: 9/12/23] (Docket No. 498)

        Status: The Debtors have filed a revised proposed order under certification of counsel
        resolving this matter and respectfully requests entry of the revised proposed order.

11.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Debtors to (A) Maintain Insurance Coverage Entered Into Prepetition and Pay Related
        Prepetition Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance
        Coverage, (II) Approving Continuation of the Surety Bond Program, and (III) Granting
        Related Relief [Filed: 8/7/23] (Docket No. 6)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Signed] Interim (I) Authorizing the Debtors to (A) Maintain Insurance Coverage
                 Entered Into Prepetition and Pay Related Prepetition Obligations and (B) Renew,
                 Supplement, Modify, or Purchase Insurance Coverage, (II) Approving
                 Continuation of the Surety Bond Program, and (III) Granting Related Relief
                 [Filed: 8/9/23] (Docket No. 174)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain
                 Insurance Coverage Entered Into Prepetition and Pay Related Prepetition
                 Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance
                 Coverage, (II) Approving Continuation of the Surety Bond Program, and (III)
                 Granting Related Relief [Filed: 8/10/23] (Docket No. 201)

        c.       [Signed] Second Interim (I) Authorizing the Debtors to (A) Maintain Insurance
                 Coverage Entered Into Prepetition and Pay Related Prepetition Obligations and
                 (B) Renew, Supplement, Modify, or Purchase Insurance Coverage, (II) Approving
                 Continuation of the Surety Bond Program, and (III) Granting Related Relief
                 [Filed: 8/21/23] (Docket No. 311)

        d.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors to (A)
                 Maintain Insurance Coverage Entered Into Prepetition and Pay Related
                 Prepetition Obligations and (B) Renew, Supplement, Modify, or Purchase
                 Insurance Coverage, (II) Approving Continuation of the Surety Bond Program,
                 and (III) Granting Related Relief [Filed: 9/13/23] (Docket No. 507)

        e.       [Signed] Final Order (I) Authorizing the Debtors to (A) Maintain Insurance
                 Coverage Entered Into Prepetition and Pay Related Prepetition Obligations and
                 (B) Renew, Supplement, Modify, or Purchase Insurance Coverage, (II) Approving
                 Continuation of the Surety Bond Program, and (III) Granting Related Relief

                                                 8
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG         Doc 565     Filed 09/15/23    Page 9 of 24




                 [Filed: 9/13/23] (Docket No. 523)

        Status: The Court has entered an order on this matter. No hearing is necessary.

12.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Debtors to (A) File a Consolidated List of Creditors in Lieu of Submitting a Separate
        Mailing Matrix for Each Debtor, (B) File a Consolidated List of the Debtors’ Thirty
        Largest Unsecured Creditors, (C) Serve Certain Parties in Interest by Email, (D) Approve
        the Form and Manner of Service of the Notice of Commencement, and I Redact Certain
        Personally Identifiable Information of Natural Persons, (II) Waiving the Requirement to
        File A List of Equity Security Holders, and (III) Granting Related Relief [Filed: 8/7/23]
        (Docket No. 7)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       Certification of Debtors’ Consolidated Creditor Matrix [Filed: 8/7/23] (Docket
                 No. 8)

        b.       [Signed] Interim (I) Authorizing the Debtors to (A) File a Consolidated List of
                 Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (B)
                 File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors, (C)
                 Serve Certain Parties in Interest by Email, (D) Approve the Form and Manner of
                 Service of the Notice of Commencement, and I Redact Certain Personally
                 Identifiable Information of Natural Persons, (II) Waiving the Requirement to File
                 A List of Equity Security Holders, and (III) Granting Related Relief [Filed:
                 8/9/23] (Docket No. 171)

        c.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) File a
                 Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix
                 for Each Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest
                 Unsecured Creditors, (C) Serve Certain Parties in Interest by Email, (D) Approve
                 the Form and Manner of Service of the Notice of Commencement, and I Redact
                 Certain Personally Identifiable Information of Natural Persons, (II) Waiving the
                 Requirement to File A List of Equity Security Holders, and (III) Granting Related
                 Relief [Filed: 8/10/23] (Docket No. 194)

        d.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors to (A)
                 File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing
                 Matrix for Each Debtor, (B) File a Consolidated List of the Debtors’ Thirty
                 Largest Unsecured Creditors, (C) Serve Certain Parties in Interest by Email, (D)
                 Approve the Form and Manner of Service of the Notice of Commencement, and I
                 Redact Certain Personally Identifiable Information of Natural Persons, (II)
                 Waiving the Requirement to File A List of Equity Security Holders, and (III)
                                                 9
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 10 of 24




                 Granting Related Relief [Filed: 9/12/23] (Docket No. 500)

        e.       [Signed] Final Order (I) Authorizing the Debtors to (A) File a Consolidated List
                 of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (B)
                 File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors, (C)
                 Serve Certain Parties in Interest by Email, (D) Approve the Form and Manner of
                 Service of the Notice of Commencement, and I Redact Certain Personally
                 Identifiable Information of Natural Persons, (II) Waiving the Requirement to File
                 A List of Equity Security Holders, and (III) Granting Related Relief [Filed:
                 9/13/23] (Docket No. 528)

        Status: The Court has entered an order on this matter. No hearing is necessary.

13.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
        Certain Prepetition Obligations Relating Thereto, (C) Maintain Existing Business Forms,
        and (D) Perform Intercompany Transactions and (II) Granting Related Relief [Filed:
        8/7/23] (Docket No. 10)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       Informal comments from the Office of the United States Trustee, the Official
                 Committee of Unsecured Creditors, the Junior DIP Lender, the Junior DIP Agent,
                 the B-2 Lenders, the Treasury, the UST Tranche A Agent, the UST Tranche B
                 Agent

        Related Documents:

        a.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Continue to Operate
                 Their Cash Management System, (B) Honor Certain Prepetition Obligations
                 Relating Thereto, (C) Maintain Existing Business Forms, and (D) Perform
                 Intercompany Transactions and (II) Granting Related Relief [Filed: 8/9/23]
                 (Docket No. 178)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
                 to Operate Their Cash Management System, (B) Honor Certain Prepetition
                 Obligations Relating Thereto, (C) Maintain Existing Business Forms, and (D)
                 Perform Intercompany Transactions and (II) Granting Related Relief [Filed:
                 8/10/23] (Docket No. 195)

        c.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors to (A)
                 Continue to Operate Their Cash Management System, (B) Honor Certain
                 Prepetition Obligations Relating Thereto, (C) Maintain Existing Business Forms,
                 and (D) Perform Intercompany Transactions and (II) Granting Related Relief
                 [Filed: 9/13/23] (Docket No. 510)
                                                 10
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 11 of 24




        d.       [Signed] Final Order (I) Authorizing the Debtors to (A) Continue to Operate Their
                 Cash Management System, (B) Honor Certain Prepetition Obligations Relating
                 Thereto, (C) Maintain Existing Business Forms, and (D) Perform Intercompany
                 Transactions and (II) Granting Related Relief [Filed: 9/14/23] (Docket No. 544)

        Status: The Court has entered an order on this matter. No hearing is necessary.

14.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        Debtors to Pay Prepetition Claims of Certain Critical Vendors, 503(b)(9) Claimants, Lien
        Claimants, and Foreign Vendors, (II) Confirming Administrative Expense Priority of
        Outstanding Orders, and (III) Granting Related Relief [Filed: 8/7/23] (Docket No. 12)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: Informal comments from the Office of the United States Trustee, the
        Official Committee of Unsecured Creditors, the Junior DIP Lender, the Junior DIP Agent,
        the B-2 Lenders, the Treasury, the UST Tranche A Agent, the UST Tranche B Agent

        Related Documents:

        a.       [Signed] Interim Order (I) Authorizing Debtors to Pay Prepetition Claims of
                 Certain Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and Foreign
                 Vendors, (II) Confirming Administrative Expense Priority of Outstanding Orders,
                 and (III) Granting Related Relief [Filed: 8/9/23] (Docket No. 176)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay Prepetition
                 Claims of Certain Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and
                 Foreign Vendors, (II) Confirming Administrative Expense Priority of Outstanding
                 Orders, and (III) Granting Related Relief [Filed: 8/10/23] (Docket No. 202)

        c.       [Signed] Second Interim Order (I) Authorizing Debtors to Pay Prepetition Claims
                 of Certain Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and Foreign
                 Vendors, (II) Confirming Administrative Expense Priority of Outstanding Orders,
                 and (III) Granting Related Relief [Filed: 8/21/23] (Docket No. 310)

        d.       Certification of Counsel Regarding Final Order (I) Authorizing Debtors to Pay
                 Prepetition Claims of Certain Critical Vendors, 503(b)(9) Claimants, Lien
                 Claimants, and Foreign Vendors, (II) Confirming Administrative Expense Priority
                 of Outstanding Orders, and (III) Granting Related Relief [Filed: 9/12/23] (Docket
                 No. 504)

        e.       [Signed] Final Order (I) Authorizing Debtors to Pay Prepetition Claims of Certain
                 Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and Foreign Vendors, (II)
                 Confirming Administrative Expense Priority of Outstanding Orders, and (III)
                 Granting Related Relief [Filed: 9/13/23] (Docket No. 517)

        Status: The Court has entered an order on this matter. No hearing is necessary.

                                                 11
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG             Doc 565       Filed 09/15/23   Page 12 of 24




15.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (A)(I)
        Approving the Debtors’ Proposed Adequate Assurance of Payment for Future Utility
        Services, (II) Prohibiting Utility Providers from Altering, Refusing, or Discontinuing
        Services, (III) Approving the Debtors’ Proposed Procedures for Resolving Adequate
        Assurance Requests, and (B) Granting Related Relief [Filed: 8/7/23] (Docket No. 13)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received:

        a.        Objection to Motion Prohibiting Utilities From Discontinuing Service Motion of
                  Debtors for Entry of Interim and Final Orders (A) (I) Approving the Debtors
                  Proposed Adequate Assurance of Payment for Future Utility Services, (II)
                  Prohibiting Utility Providers From Altering, Refusing, or Discontinuing Services,
                  (III) Approving the Debtors Proposed Procedures for Resolving Adequate
                  Assurance Requests, and (B) Granting Related Relief [Filed: 8/25/23] (Docket No.
                  337)

                i.           Notice of Withdrawal of Objection to Motion Prohibiting Utilities From
                             Discontinuing Service Motion of Debtors for Entry of Interim and Final
                             Orders (A) (I) Approving the Debtors Proposed Adequate Assurance of
                             Payment for Future Utility Services, (II) Prohibiting Utility Providers From
                             Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors
                             Proposed Procedures for Resolving Adequate Assurance Requests, and (B)
                             Granting Related Relief [Filed: 9/12/23] (Docket No. 495)

        Related Documents:

        a.        [Signed] Interim Order (A)(I) Approving the Debtors’ Proposed Adequate
                  Assurance of Payment for Future Utility Services, (II) Prohibiting Utility
                  Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
                  Debtors’ Proposed Procedures for Resolving Adequate Assurance Requests, and
                  (B) Granting Related Relief [Filed: 8/17/23] (Docket No. 277)

        b.        Notice of Entry of Interim Order and Final Hearing Regarding (A)(I) Approving
                  the Debtors’ Proposed Adequate Assurance of Payment for Future Utility
                  Services, (II) Prohibiting Utility Providers from Altering, Refusing, or
                  Discontinuing Services, (III) Approving the Debtors’ Proposed Procedures for
                  Resolving Adequate Assurance Requests, and (B) Granting Related Relief [Filed:
                  8/17/23] (Docket No. 292)

        c.        Certification of Counsel Regarding Final Order (A)(I) Approving the Debtors’
                  Proposed Adequate Assurance of Payment for Future Utility Services, (II)
                  Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Services,
                  (III) Approving the Debtors’ Proposed Procedures for Resolving Adequate
                  Assurance Requests, and (B) Granting Related Relief [Filed: 9/12/23] (Docket
                  No. 499)

                                                      12
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565     Filed 09/15/23    Page 13 of 24




        d.       [Signed] Final Order (A)(I) Approving the Debtors’ Proposed Adequate
                 Assurance of Payment for Future Utility Services, (II) Prohibiting Utility
                 Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
                 Debtors’ Proposed Procedures for Resolving Adequate Assurance Requests, and
                 (B) Granting Related Relief [Filed: 9/13/23] (Docket No. 534)

        Status: The Court has entered an order on this matter. No hearing is necessary.

16.     Final Hearing on Motion of the Debtors for Entry of Interim and Final Orders (I)
        Authorizing the Debtors to Consent to Limited Relief from the Automatic Stay to Permit
        Setoff of Certain Customer Claims Against the Debtors, and (II) Granting Related Relief
        [Filed: 8/7/23] (Docket No. 19)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: Informal comments from the Office of the United States Trustee, the
        Official Committee of Unsecured Creditors, the Junior DIP Lender, the Junior DIP Agent,
        the B-2 Lenders, the Treasury, the UST Tranche A Agent, the UST Tranche B Agent

        Related Documents:

        a.       Supplement to Motion of the Debtors for Entry of Interim and Final Orders (I)
                 Authorizing the Debtors to Consent to Limited Relief from the Automatic Stay to
                 Permit Setoff of Certain Customer Claims Against the Debtors, and (II) Granting
                 Related Relief [Filed: 8/9/23] (Docket No. 148)

        b.       [Signed] Interim Order (I) Authorizing the Debtors to Consent to Limited Relief
                 from the Automatic Stay to Permit Setoff of Certain Customer Claims Against the
                 Debtors, and (II) Granting Related Relief [Filed: 8/9/23] (Docket No. 177)

        c.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of the
                 Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                 Consent to Limited Relief from the Automatic Stay to Permit Setoff of Certain
                 Customer Claims Against the Debtors, and (II) Granting Related Relief [Filed:
                 8/10/23] (Docket No. 198)

        d.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors to
                 Consent to Limited Relief from the Automatic Stay to Permit Setoff of Certain
                 Customer Claims Against the Debtors, and (II) Granting Related Relief [Filed:
                 9/12/23] (Docket No. 506)

        e.       [Signed] Final Order (I) Authorizing the Debtors to Consent to Limited Relief
                 from the Automatic Stay to Permit Setoff of Certain Customer Claims Against the
                 Debtors, and (II) Granting Related Relief [Filed: 9/13/23] (Docket No. 522)

        Status: The Court has entered an order on this matter. No hearing is necessary.

17.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
                                              13
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 14 of 24




        Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II)
        Granting Related Relief [Filed: 8/7/23] (Docket No. 20)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received: Informal comments from the Office of the United States Trustee, the
        Official Committee of Unsecured Creditors, the Junior DIP Lender, the Junior DIP Agent,
        the B-2 Lenders, the Treasury, the UST Tranche A Agent, the UST Tranche B Agent

        Related Documents:

        a.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages,
                 Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
                 Employee Benefits Programs, and (II) Granting Related Relief [Filed: 8/9/23]
                 (Docket No. 173)

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay
                 Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses
                 and (B) Continue Employee Benefits Programs, and (II) Granting Related Relief
                 [Filed: 8/10/23] (Docket No. 193)

        c.       [Signed] Second Interim Order (I) Authorizing the Debtors to (A) Pay Prepetition
                 Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B)
                 Continue Employee Benefits Programs, and (II) Granting Related Relief [Filed:
                 8/21/23] (Docket No. 309)

        d.       [Signed] Third Interim Order (I) Authorizing the Debtors to (A) Pay Prepetition
                 Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B)
                 Continue Employee Benefits Programs, and (II) Granting Related Relief [Filed:
                 9/8/23] (Docket No. 422)

        e.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors to (A)
                 Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
                 Expenses and (B) Continue Employee Benefits Programs, and (II) Granting
                 Related Relief [Filed: 9/12/23] (Docket No. 503)

        f.       Final Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries,
                 Other Compensation, and Reimbursable Expenses and (B) Continue Employee
                 Benefits Programs, and (II) Granting Related Relief [Filed: 9/12/23] (Docket No.
                 532)

        Status: The Court has entered an order on this matter. No hearing is necessary.

18.     Motion of Debtors to Approve Procedures for De Minimis Asset Transactions and
        Abandonment of De Minimis Assets [Filed: 8/29/23] (Docket No. 360)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

                                                 14
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG       Doc 565       Filed 09/15/23   Page 15 of 24




        Responses Received:

        a.       Informal comments of the United States Trustee

        b.       Valley National Bank’s Reservation of Rights and Response to Debtors’ Motion to
                 Approve Procedures for De Minimis Asset Transactions and Abandonment of De
                 Minimis Assets [Filed: 9/8/23] (Docket No. 433)

        Related Documents:

        a.       [Proposed] Order Approving Procedures for De Minimis Asset Transactions and
                 Abandonment of De Minimis Assets [Filed: 8/29/23] (Docket No. 360, Exhibit A)

        b.       Certification of Counsel Regarding Motion of Debtors to Approve Procedures for
                 De Minimis Asset Transactions and Abandonment of De Minimis Assets Relief
                 [Filed: 9/14/23] (Docket No. 547)

        c.       [Signed] Order Approving Procedures for De Minimis Asset Transactions and
                 Abandonment of De Minimis Assets [Filed: 9/14/23] (Docket No. 551)

        Status: The Court has entered an order on this matter. No hearing is necessary.

19.     Debtors’ Motion for Entry of an Order (I) Authorizing and Approving Procedures to Reject
        Executory Contracts and Unexpired Leases and (II) Granting Related Relief [Filed:
        8/31/23] (Docket No. 391)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       Paccar Financial Corp.'s Reservation of Rights and Response to Debtors' Motion
                 for Approval of Contract and Lease Rejection Procedures [Filed: 9/7/23] (Docket
                 No. 413)

        b.       East West Bank’s (I) Omnibus Objection Regarding (A) the Rejection Procedures
                 Motion and (B) The First Omnibus Rejection Motion and (II) Reservation of Rights
                 Regarding the Bidding Procedures Motion [Filed: 9/8/23] (Docket No. 430)

        c.       Joinder of Valley National Bank to PACCAR Financial Corp.’s (I) Reservation of
                 Rights and Response to Debtors’ Motion for Approval of Contract and Lease
                 Rejection Procedures; and (II) Reservation of Rights and Response to Debtors’
                 Motion for Approval of Proposed Bidding Procedures [Filed: 9/8/23] (Docket No.
                 432)

        d.       Informal comments from USHOLL (MI) LLC



                                                15
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565      Filed 09/15/23   Page 16 of 24




        e.       Joinder of Wintrust Commercial Finance in PACCAR Financial Corp.’s (I)
                 Reservation of Rights and Response to Debtors’ Motion for Approval of Contract
                 and Lease Rejection Procedures [Dkt. No. 391]; and (II) Reservation of Rights and
                 Response to Debtors’ Motion for Approval of Proposed Bidding Procedures [Dkt.
                 No. 22] and Joinder By Valley National Bank [Dkt. No. 432] and East West Bank’s
                 Omnibus Objection to Interim DIP Order and Interim Cash Collateral Order [Dkt.
                 No. 442] and Reservation of Rights [Filed: 9/13/23] (Docket No. 527)

        Related Documents:

        a.       [Proposed] Order (I) Authorizing and Approving Procedures to Reject Executory
                 Contracts and Unexpired Leases and (II) Granting Related Relief [Filed: 8/31/23]
                 (Docket No. 391, Exhibit A)

        b.       Certification of Counsel Regarding Debtors’ Motion for Entry of an Order (I)
                 Authorizing and Approving Procedures to Reject Executory Contracts and
                 Unexpired Leases and (II) Granting Related Relief [Filed: 9/13/23] (Docket No.
                 538)

        c.       [Signed] Order (I) Authorizing and Approving Procedures to Reject Executory
                 Contracts and Unexpired Leases and (II) Granting Related Relief [Filed: 9/14/23]
                 (Docket No. 550)

        Status: The Court has entered an order on this matter. No hearing is necessary.

20.     Motion of Debtors Seeking Entry of an Order (I) Setting Bar Dates for Filing Proofs of
        Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing
        Amended Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form
        and Manner for Filing Proofs of Claim, Including Section 503(b)(9) Requests, and (IV)
        Approving Form and Manner of Notice Thereof [Filed: 8/31/23] (Docket No. 393)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       Informal comments from the Office of the United States Trustee

        b.       Informal comments from the Official Committee of Unsecured Creditors

        Related Documents:

        a.       [Proposed] Order (I) Setting Bar Dates for Filing Proofs of Claim, Including
                 Requests for Payment Under Section 503(b)(9), (II) Establishing Amended
                 Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form
                 and Manner for Filing Proofs of Claim, Including Section 503(b)(9) Requests, and
                 (IV) Approving Form and Manner of Notice Thereof [Filed: 8/31/23] (Docket No.
                 393, Exhibit A)

                                                16
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565      Filed 09/15/23   Page 17 of 24




        b.       Certification of Counsel Regarding Order (I) Setting Bar Dates for Filing Proofs
                 of Claim, Including Requests for Payment Under Section 503(b)(9), (II)
                 Establishing Amended Schedules Bar Date and Rejection Damages Bar Date, (III)
                 Approving the Form and Manner for Filing Proofs of Claim, Including Section
                 503(b)(9) Requests, and (IV) Approving Form and Manner of Notice Thereof
                 [Filed: 9/12/23] (Docket No. 505)

        c.       [Signed] Order (I) Setting Bar Dates for Filing Proofs of Claim, Including
                 Requests for Payment Under Section 503(b)(9), (II) Establishing Amended
                 Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form
                 and Manner for Filing Proofs of Claim, Including Section 503(b)(9) Requests, and
                 (IV) Approving Form and Manner of Notice Thereof [Filed: 8/31/23] (Docket No.
                 521)

        Status: The Court has entered an order on this matter. No hearing is necessary.

21.     Omnibus Motion of Debtors Seeking Entry of an Order (I) Authorizing (A) Rejection of
        Certain Executory Contracts and Unexpired Leases Effective as of Dates Specified Herein
        and (B) Abandonment of Certain Personal Property, If Any, and (II) Granting Related
        Relief [Filed: 8/31/23] (Docket No. 394)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       East West Bank’s (I) Omnibus Objection Regarding (A) the Rejection Procedures
                 Motion and (B) The First Omnibus Rejection Motion and (II) Reservation of Rights
                 Regarding the Bidding Procedures Motion [Filed: 9/8/23] (Docket No. 430)

        b.       Informal comments from the Office of the United States Trustee

        Related Documents:

        a.       Order (I) Authorizing (A) Rejection of Certain Executory Contracts and
                 Unexpired Leases Effective as of Dates Specified Herein and (B) Abandonment
                 of Certain Personal Property, If Any, and (II) Granting Related Relief [Filed:
                 8/31/23] (Docket No. 394, Exhibit A)

        b.       Certification of Counsel Regarding Omnibus Motion of Debtors Seeking Entry of
                 an Order (I) Authorizing (A) Rejection of Certain Executory Contracts and
                 Unexpired Leases Effective as of Dates Specified Herein and (B) Abandonment
                 of Certain Personal Property, If Any, and (II) Granting Related Relief [Filed:
                 9/14/23] (Docket No. 541)

        c.       [Signed] Order (I) Authorizing (A) Rejection of Certain Executory Contracts and
                 Unexpired Leases Effective as of Dates Specified Herein and (B) Abandonment
                 of Certain Personal Property, If Any, and (II) Granting Related Relief [Filed:
                 8/31/23] (Docket No. 548)
                                                17
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 18 of 24




        Status: The Court has entered an order on this matter. No hearing is necessary.

22.     Motion of Debtors for Entry of an Order (I) Establishing Procedures for Interim
        Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related
        Relief [Filed: 9/1/23] (Docket No. 398)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received: None.

        Related Documents:

        a.       [Proposed] Order (I) Establishing Procedures for Interim Compensation and
                 Reimbursement of Expenses for Professionals and (II) Granting Related Relief
                 [Filed: 8/31/23] (Docket No. 398, Exhibit A)

        b.       Certification of No Objection Regarding Motion of Debtors for Entry of an Order
                 (I) Establishing Procedures for Interim Compensation and Reimbursement of
                 Expenses for Professionals and (II) Granting Related Relief [Filed: 9/12/23]
                 (Docket No. 496)

        c.       [Signed] Order (I) Establishing Procedures for Interim Compensation and
                 Reimbursement of Expenses for Professionals and (II) Granting Related Relief
                 [Filed: 9/13/23] (Docket No. 519)

        Status: The Court has entered an order on this matter. No hearing is necessary.

MATTERS GOING FORWARD:

23.     Final Hearing on Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
        the Debtors to (A) Obtain Postpetition Financing, (B) Utilize Cash Collateral, (II)
        Granting Liens and Superpriority Administrative Expense Claims, (III) Modifying the
        Automatic Stay, (IV) Authorizing the Debtors to Use UST Cash Collateral, (V) Granting
        Adequate Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
        [Filed: 8/7/23] (Docket No. 16)

        Response Deadline: August 31, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       Maricopa County Treasurer’s Objection to Motion of Debtors for Entry of Interim
                 and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing,
                 (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                 Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors
                 to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a
                 Final Hearing, and (VII) Granting Related Relief [Filed: 8/28/23] (Docket No. 350)



                                                 18
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565     Filed 09/15/23    Page 19 of 24




        b.       East West Bank’s Omnibus Objection to Interim DIP Order and Interim UST Cash
                 Collateral Order [Filed: 9/11/23] (Docket No. 442)

        c.       World Fuel Services, Inc.’s Limited Objection to Motion of Debtors for Entry of
                 Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition
                 Financing, (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority
                 Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
                 Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate
                 Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
                 [Filed: 9/12/23] (Docket No. 497)

        d.       Joinder of Wintrust Commercial Finance in PACCAR Financial Corp.’s (I)
                 Reservation of Rights and Response to Debtors’ Motion for Approval of Contract
                 and Lease Rejection Procedures [Dkt. No. 391]; and (II) Reservation of Rights and
                 Response to Debtors’ Motion for Approval of Proposed Bidding Procedures [Dkt.
                 No. 22] and Joinder By Valley National Bank [Dkt. No. 432] and East West Bank’s
                 Omnibus Objection to Interim DIP Order and Interim Cash Collateral Order [Dkt.
                 No. 442] and Reservation of Rights [Filed: 9/13/23] (Docket No. 527)

        Related Documents:

        a.       Declaration of Brian Whittman, Managing Director of Alvarez & Marsal North
                 American, LLC In Support of the Motion of Debtors for Entry of Interim and
                 Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing, (B)
                 Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                 Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the
                 Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI)
                 Scheduling a Final Hearing, and (VII) Granting Related Relief [Filed: 8/7/23]
                 (Docket No. 17)

        b.       Declaration of Cody Leung Kaldenberg, founding Member and Partner at Ducera
                 Partners LLC, Managing Director of Alvarez & Marsal North American, LLC In
                 Support of the Motion of Debtors for Entry of Interim and Final Orders (I)
                 Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Utilize Cash
                 Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,
                 (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST
                 Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed: 8/7/23] (Docket No. 18)

        c.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain
                 Postpetition Financing, (B) Utilize Cash Collateral, (II) Granting Liens and
                 Superpriority Administrative Expense Claims, (III) Modifying the Automatic
                 Stay, (IV) Authorizing the Debtors to Use UST Cash Collateral, (V) Granting
                 Adequate Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related
                 Relief [Filed: 8/7/23] (Docket No. 34)

        d.       Notice of Revised Cash Collateral Budget [Filed: 8/9/23] (Docket No. 156)
                                                19
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 20 of 24




        e.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Use Cash Collateral,
                 and (B) Grant Liens and Superpriority Administrative Expense Claims, (II)
                 Granting Adequate Protection to Certain Prepetition Secured Parties, (III)
                 Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed: 8/10/23]
                 (Docket No. 181)

        f.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
                 Financing, (B) Use Cash Collateral, and (C) Grant Liens and Superpriority
                 Administrative Expense Claims, (II) Granting Adequate Protection to Certain
                 Prepetition Secured Parties, (III) Modifying the Automatic Stay, and (IV)
                 Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/18/23]
                 (Docket No. 302)

        g.       [Signed] Interim UST Cash Collateral and Adequate Protection Order (I)
                 Authorizing the Debtors to (A) Use UST Cash Collateral and All Other
                 Prepetition UST Collateral, (II) Granting Adequate Protection, (III) Modifying the
                 automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief
                 [Filed: 8/18/23] (Docket No. 303)

        h.       Notice of Filing of Receipts Variance Covenant Exhibit to Interim Order (I)
                 Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Use Cash
                 Collateral, and (C) Grant Liens and Superpriority Administrative Expense Claims,
                 (II) Granting Adequate Protection to Certain Prepetition Secured Parties, (III)
                 Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                 Granting Related Relief [Filed: 8/23/23] (Docket No. 330)

        i.       Notice of Entry of Interim DIP Order and Final Hearing Regarding Motion of
                 Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
                 Obtain Postpetition Financing, (B) Utilize Cash Collateral, (II) Granting Liens
                 and Superpriority Administrative Expense Claims, (III) Modifying the Automatic
                 Stay, (IV) Authorizing the Debtors to Use UST Cash Collateral, (V) Granting
                 Adequate Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related
                 Relief [Filed: 8/29/23] (Docket No. 362)

        j.       Notice of Entry of Interim UST Cash Collateral Order and Final Hearing
                 Regarding Motion of Debtors for Entry of Interim and Final Orders (I)
                 Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize
                 Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense
                 Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use
                 UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed: 8/29/23] (Docket No. 363)

        k.       Certification of Counsel Regarding Final Order (I) Authorizing the Debtors
                 to (A) Obtain Postpetition Financing, (B) Utilize Cash Collateral, and (C)
                 Grant Liens and Superpriority Administrative Expense Claims, (II)
                 Granting Adequate Protection to Certain Prepetition Secured Parties, (III)
                 Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed:
                 9/14/23] (Docket No. 563)
                                                 20
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 21 of 24




        l.       Certification of Counsel Regarding Final UST Cash Collateral and Adequate
                 Protection Order (I) Authorizing the Debtors to (A) Use UST Cash Collateral
                 and All Other Prepetition UST Collateral, (II) Granting Adequate
                 Protection, (III) Modifying the Automatic Stay, and (IV) Granting Related
                 Relief [Filed: 9/15/23] (Docket No. 564)

        Status: The Debtors have filed separate certifications of counsel for the proposed
        final DIP order and final UST cash collateral order. The Debtors respectfully request
        entry of the proposed final orders. The Debtors are available to discuss any questions
        with the Court at the hearing.

24.     Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures for the
        Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form
        and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures,
        (D) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof;
        (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests
        and Encumbrances and (B) Approving the Assumption and Assignment of Executory
        Contracts and Unexpired Leases; and (III) Granting Related Relief [Filed: 8/7/23] (Docket
        No. 22)

        Response Deadline: September 8, 2023, at 4:00 p.m. ET

        Responses Received:

        a.       PACCAR Financial Corp.’s Reservation of Rights and Response to Debtors’
                 Motion for Approval of Proposed Bidding Procedures [Filed: 9/7/23] (Docket No.
                 412)

        b.       Reservation of Rights of the Chubb Companies with Respect to the Motion of the
                 Debtors for Entry of an Order (I)(A) Approving Bidding Procedures for the Sale or
                 Sales of the Debtors Assets; (B) Scheduling an Auction and Approving the Form
                 and Manner of Notice Thereof; (C) Approving Assumption and Assignment
                 Procedures, (D) Scheduling a Sale Hearing and Approving the Form and Manner
                 of Notice Thereof; (II)(A) Approving the Sale of the Debtors Assets Free and Clear
                 of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption
                 and Assignment of Executory Contracts and Unexpired Leases; and (III) Granting
                 Related Relief [Filed: 9/7/23] (Docket No. 417)

        c.       Limited Objection of Peacock Capital Corporation to Debtors’ Motion for Entry of
                 an Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’
                 Assets; (B) Scheduling an Auction and Approving the Form and Manner of Notice
                 Thereof; (C) Approving Assumption and Assignment Procedures, (D) Scheduling
                 a Sale Hearing and Approving the Form and Manner of Notice Thereof; (II)(A)
                 Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
                 Interests and Encumbrances and (B) Approving the Assumption and Assignment
                 of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief
                 [Filed: 9/8/23] (Docket No. 424)

                                                 21
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG        Doc 565       Filed 09/15/23   Page 22 of 24




        d.       Objection of Orange Batavia I, LLC to Motion of the Debtors for Entry of an Order
                 (I)(a) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets,
                 Etc. [Filed: 9/8/23] (Docket No. 426)

        e.       East West Bank’s (I) Omnibus Objection Regarding (A) the Rejection Procedures
                 Motion and (B) The First Omnibus Rejection Motion and (II) Reservation of Rights
                 Regarding the Bidding Procedures Motion [Filed: 9/8/23] (Docket No. 430)

        f.       Joinder of Valley National Bank to PACCAR Financial Corp.’s (I) Reservation of
                 Rights and Response to Debtors’ Motion for Approval of Contract and Lease
                 Rejection Procedures; and (II) Reservation of Rights and Response to Debtors’
                 Motion for Approval of Proposed Bidding Procedures [Filed: 9/8/23] (Docket No.
                 432)

        g.       Joinder of Multnomah County, Oregon to Objection of Orange Batavia I, LLC to
                 Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures
                 for the Sale or Sales of the Debtors’ Assets, Etc. [Filed: 9/8/23] (Docket No. 434)

        h.       Joinder of Hawkey Transportation, Inc. to Objection of Orange Batavia I, LLC to
                 Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures
                 for the Sale or Sales of the Debtors’ Assets, Etc. [Filed: 9/8/23] (Docket No. 436)

        i.       Joinder of PPF Sudberry Ocean View Hills, L.P. to Objection of Orange Batavia I,
                 LLC to Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding
                 Procedures for the Sale or Sales of the Debtors’ Assets, Etc. [Filed: 9/11/23]
                 (Docket No. 439)

        j.       Joinder of Wintrust Commercial Finance in PACCAR Financial Corp.’s (I)
                 Reservation of Rights and Response to Debtors’ Motion for Approval of Contract
                 and Lease Rejection Procedures [Dkt. No. 391]; and (II) Reservation of Rights and
                 Response to Debtors’ Motion for Approval of Proposed Bidding Procedures [Dkt.
                 No. 22] and Joinder By Valley National Bank [Dkt. No. 432] and East West Bank’s
                 Omnibus Objection to Interim DIP Order and Interim Cash Collateral Order [Dkt.
                 No. 442] and Reservation of Rights [Filed: 9/13/23] (Docket No. 527)

        Related Documents:

        a.       [Proposed] Order (I)(A) Approving Bidding Procedures for the Sale or Sales of
                 the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form and
                 Manner of Notice Thereof; (C) Approving Assumption and Assignment
                 Procedures, (D) Scheduling a Sale Hearing and Approving the Form and Manner
                 of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and
                 Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the
                 Assumption and Assignment of Executory Contracts and Unexpired Leases; and
                 (III) Granting Related Relief [Filed: 8/7/23] (Docket No. 22, Exhibit A)



                                                 22
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG       Doc 565       Filed 09/15/23   Page 23 of 24




        b.       Notice of Hearing on Motion of the Debtors for Entry of an Order (I)(A)
                 Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B)
                 Scheduling an Auction and Approving the Form and Manner of Notice Thereof;
                 (C) Approving Assumption and Assignment Procedures, (D) Scheduling a Sale
                 Hearing and Approving the Form and Manner of Notice Thereof; (II)(A)
                 Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
                 Interests and Encumbrances and (B) Approving the Assumption and Assignment
                 of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief
                 [Filed: 8/30/23] (Docket No. 378)

        c.       Notice of Filing of Revised Order (I)(A) Approving Bidding Procedures for the
                 Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving
                 the Form and Manner of Notice Thereof; (C) Approving Assumption and
                 Assignment Procedures, (D) Scheduling a Sale Hearing and Approving the Form
                 and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets
                 Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving
                 the Assumption and Assignment of Executory Contracts and Unexpired Leases;
                 and (III) Granting Related Relief [Filed: 9/11/23] (Docket No. 444)

        d.       Declaration of Cody Leung Kaldenberg In Support of The Debtors’ Motion for
                 Entry of an Order (I)(A) Approving Bidding Procedures for the Sale or Sales of
                 the Debtors’ Assets; (B) Scheduling Auctions and Approving the Form and
                 Manner of Notice Thereof; (C) Approving Assumption and Assignment
                 Procedures, (D) Scheduling Sale Hearings and Approving the Form and Manner
                 of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and
                 Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the
                 Assumption and Assignment of Executory Contracts and Unexpired Leases; and
                 (III) Granting Related Relief [Filed: 9/13/23] (Docket No. 515)

        e.       Certification of Counsel Regarding Revised Order (I)(A) Approving Bidding
                 Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling an
                 Auction and Approving the Form and Manner of Notice Thereof; (C)
                 Approving Assumption and Assignment Procedures, (D) Scheduling a Sale
                 Hearing and Approving the Form and Manner of Notice Thereof; (II)(A)
                 Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims,
                 Interests and Encumbrances and (B) Approving the Assumption and
                 Assignment of Executory Contracts and Unexpired Leases; and (III)
                 Granting Related Relief [Filed: 9/15/23] (Docket No. 562)

        Status: The Debtors have filed a further revised bidding procedures order under
        certification of counsel and respectfully request entry of the order. The Debtors are
        available to discuss any questions with the Court at the hearing.




                                                23
DOCS_DE:244678.8 96859/001
               Case 23-11069-CTG   Doc 565    Filed 09/15/23   Page 24 of 24



Dated: September 15, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)      Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)      David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)         Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)           KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP        KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor      300 North LaSalle
P.O. Box 8705                            Chicago, Illinois 60654
Wilmington, Delaware 19801               Telephone:       (212) 446-4800
Telephone:      (302) 652-4100           Facsimile:       (212) 446-4900
Facsimile:      (302) 652-4400           Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                        david.seligman@kirkland.com
                tcairns@pszjlaw.com                       whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com       -and-

                                         Allyson B. Smith (admitted pro hac vice)
                                         KIRKLAND & ELLIS LLP
                                         KIRKLAND & ELLIS INTERNATIONAL LLP
                                         601 Lexington Avenue
                                         New York, New York 10022
                                         Telephone:     (212) 446-4800
                                         Facsimile:     (212) 446-4900
                                         Email:         allyson.smith@kirkland.com

                                         Proposed Co-Counsel for the Debtors and Debtors in
                                         Possession




                                         24
DOCS_DE:244678.8 96859/001
